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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE



Rick Savage individually and on            )
behalf of Two Brothers, LLC d/b/a          )
Sunday River Brewing Company,              )
                                           )
Mike Mercer, of Cumberland                 )
County, State of Maine,                    )
                                           )
James Fahey, of Cumberland                 )
County, State of Maine,                    )
                                           )
Lindsey Crosby, of Cumberland              )
County, State of Maine,                    )
                                           )      CIVIL ACTION NO. 1:20-cv-00165
Individually and on Behalf of All          )
Other Identified Class Members,            )
                                           )
                            Plaintiffs     )
v.                                         )
                                           )
Janet T. Mills, Governor                   )
State of Maine                             )
                                           )
                            Defendant      )

                                    NOTICE OF APPEAL

       Notice is hereby given that James Fahey, Lindsey Crosby, and Michael Mercer,

Plaintiffs in the above named case, on behalf of themselves and other class members

similarly situated, hereby appeal to the United States Court of Appeals for the First Circuit

from the final Judgment and Order on the Defendant’s Motion to Dismiss, both entered in

this action on the 7th day of August, 2020.




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DATED: August 20, 2020                          /s/Stephen C. Smith
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                                                ssmith@lipmankatz.com

                             CERTIFICATE OF SERVICE

      I, Stephen C. Smith, hereby certify that the foregoing Notice of Appeal time has

been electronically sent to Assistant Attorney General Kimberly Patwardhan and

Christopher Taub for the Governor, Janet T. Mills, on this 20th day of August, 2020.


                                                /s/Stephen C. Smith
                                                Stephen C. Smith Bar No. 8720
                                                Attorney for Plaintiffs
                                                LIPMAN & KATZ




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